     Case 1:22-cv-00968-PJG ECF No. 7, PageID.31 Filed 11/14/22 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
                                  ______

PAUL ANDREW DESHONE,

                    Plaintiff,                Case No. 1:22-cv-968

v.                                            Honorable Phillip J. Green

R. REWERTS, et al.,

                    Defendants.
____________________________/

                                   JUDGMENT

       In accordance with the opinion issued this date:

       IT IS ORDERED that Plaintiff’s federal claims are DISMISSED WITH

PREJUDICE for failure to state a claim pursuant to 28 U.S.C. §§ 1915(e) and 1915A,

and 42 U.S.C. § 1997e(c).

       IT IS FURTHER ORDERED that Plaintiff’s state law claims are

DISMISSED WITHOUT PREJUDICE because the Court declines to exercise

supplemental jurisdiction over them.



Dated: November 14, 2022                      /s/ Phillip J. Green
                                              PHILLIP J. GREEN
                                              United States Magistrate Judge
